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United States District Court,
District of Columbia

David Alan Carmichael, et al.,
Plaintiffs, in propria persona
Plaintiffs Case No: 19-CV-2316-RC
v. RE: ECF 46 / Oct. 2™ Order

Michael Richard Pompeo, et al.

Nee Nee Nee ee ee ee ee” Ne” Se”

Defendants-Respondents

Notice - Amendment Document Already Submitted In ECF 46

1. On September 28", we plaintiffs mailed our timely motion to amend the
complaint (ECF 46) in accordance with the Court’s order (ECF 45). With the motion is a
Memorandum In Support listed on the docket as “Attachment 1, Memorandum in Support.”
With the Memorandum In Support are nine attachments, all of them merely listed on the docket
in one hyperlink, “Attachment 2, Exhibit.” The nine attachments were listed in the
memorandum’s table of contents. Each of the nine attachments contained a descriptive
coversheet. Each of the nine attachments were separated by a blank colored paper in order for
the Clerk’s office to easily separate each of the separate attachments for itemized listing.

a The lack of clear identification of each of our document submissions has caused
problems in the past, with important attachments being labeled in some instances as merely
errata. It appears to have created a problem again, unnecessarily prompting Judge Contreras to

issue an order that has already been fulfilled.

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3. Though the order was issued October 2", and listed on the docket as being posted
on the Electronic Case File as October 8", I was not notified electronically of its existence on
October 15". As of yesterday’s mail, October 19", there has been no order in the mail.

4. My 3" party system that tracks the PACER record for our case and immediately
provides notice to me is normally perfectly reliable to give me timely updates. I periodically
check the docket to peruse for updates and as a quick reference to the filed documents. Until
October 15, 2020, I had not noticed any ECF docket update listing the court order of October 2,
2020. |

5s The Oct. 2™ Court order demanded a document that was already in the ECF
system, ECF 46, listed as their “Attachment 2, Exhibit” and is the 65-page document which we
particularly listed as attachment 9, “Complaint - Second Amendment.”

6. I recommend that the Clerk’s office list each item (Attachment) as a separate,
hyperlinked, attachment, especially when each attachment has a cover sheet with a descriptive
title. That descriptive title, as well as its citing in the Table of Contents, should have alerted the
Court to the fact that the document demanded by the rules was actually supplied.

7. We are not allowed to participate in the Electronic Filing System because two of
the Plaintiffs do not have ready access to computer communications. Therefore, I cannot myself
make adjustments to how the documents are submitted into the Electronic Filing System.

8. This notice has been discussed with Plaintiffs Lewis and Pakosz. They concurred.

The facts stated herein are true by my first-hand knowledge, or understood by me to be
true until proven otherwise. Under the penalty of perjury under the laws of the United States of
America,

f)

David Alan Carmichael, Plaintiff

 

Date: (Crtehor Zé 2222

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David Alan Carmichael
1748 Old Buckroe Road
Hampton, Virginia 23664

October 20, 2020

Angela D. Caesar

Clerk of Court, District Court of the United States
United States Courthouse

333 Constitution Ave NW

Washington, DC 20001

Re: Case #1:19-CV-2316-RC — Notice — Amendment Document Already Submitted In
ECF 46 ;

Clerk Caesar,
Enclosed is the referenced notice for filing and the Certificate of Service.

Sincerely, P
7

f} ) By ) LY

David Alan Carmichael

   

DAC/sIf
cc: Christopher Hair (U.S. Attorney’s Office, District of Columbia)

Lawrence Donald Lewis (Plaintiff)
William Mitchell Pakosz (Plaintiff)

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CERTIFICATE OF SERVICE

I, David Alan Carmichael, hereby certify that I delivered by
mail, for Case #1:19-cv-0216-RC, Notice - Amendment Document

Already Submitted In ECF 46:
I mailed the document with this certificate of service to:

Angela D. Caesar

Clerk of Court, District Court of the United States
Attn: Tonya Hightower

United States Courthouse

333 Constitution Ave NW

Washington, DC 20001

(U.S. Mail Certified# 7015 0640 0002 8789 1035)

I sent A copy of the document by U.S. mail, first class, and

email to:

United States Attorney

United States Attorney's Office
Attn: Christopher Hair

555 4th Street, N.W.
Washington, D.C. 20530

Lawrence Donald Lewis
966 Bourbon Lane
Nordmann, Idaho 83848

William Mitchell Pakosz
Box 25
Matteson, Illinois 60443

I served myself at:
1748 Old Buckroe Road
Hampton, Virginia 23664

Wherefore, I hereby certify under the penalty of perjury
under the laws of the United States that the foregoing is
true.

Ld liler Oud? atheby 20-2020

David Alan Carmichael Date Z

 
